                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.

    JOHN PEARL SMITH, II,                        Case No. 3:16-cr-00086-SLG-1

                         Defendant.


                      ORDER REGARDING RESIDUAL DOUBT

       Before the Court at Docket 704 is the government’s Motion in Limine to

Preclude Evidence or Argument Concerning Residual Doubt. Defendant John

Pearl Smith, II responded in opposition at Docket 819. The government replied at

Docket 844.

       “Residual doubt” is a penalty-phase juror’s lingering doubt regarding a

defendant’s guilt, despite having previously found that defendant guilty of a capital

crime beyond a reasonable doubt.1 Studies—and other courts—have recognized

that “‘[r]esidual doubt’ over the defendant’s guilt is the most powerful ‘mitigating’

fact.”2 In the instant motion, the government seeks an order precluding Mr. Smith


1
  “Residual doubt” has been described as “a lingering uncertainty about facts, a state of mind
that exists somewhere between ‘beyond a reasonable doubt’ and ‘absolute certainty.’” Franklin
v. Lynaugh, 487 U.S. 164, 188 (1988) (O’Connor, J., concurring).
2
 United States v. Gonzales, Case No. 3:02CR7(JBA), 2004 WL 1920492, at *1 n.1 (D. Conn.
Aug. 17, 2004) (quoting Stephen P. Garvey, Aggravation and Mitigation in Capital Cases: What
Do Jurors Think?, 98 Colum. L. Rev. 1538, 1563 (Oct. 1998)); United States v. Young, 376 F.
Supp. 2d 787, 799 n.10 (vacated by United States v. Young, 424 F.3d 499 (6th Cir. 2005))



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from discussing residual doubt during voir dire, from introducing evidence of

residual doubt in the sentencing phase, from arguing residual doubt to the jury

during the sentencing phase, and from having the jury instructed that residual

doubt is a mitigating factor.3              The government maintains that neither the

Constitution nor the Federal Death Penalty Act (FDPA) authorize residual doubt

as mitigation.4 Mr. Smith responds that the Supreme Court and Ninth Circuit have

never resolved this issue, that the FDPA authorizes such a mitigating factor, and

that other federal courts have concluded “that residual doubt is a proper mitigating

circumstance to place before a jury in a federal capital prosecution.”5

I.       Neither the Supreme Court nor the Ninth Circuit has held that there is
         a constitutional right to a “residual doubt” mitigating factor.

         The parties both recognize that the Supreme Court has never held that

residual doubt is a constitutionally based right.6 Moreover, when the Supreme




(quoting Bowers, et al., Foreclosed Impartiality in Capital Sentencing: Jurors’ Predispositions,
Guilt-Trial Experience, and Premature Decision Making, 83 Corn. L. Rev. 1476 (1998) for the
study’s conclusion that “[b]y far, the strongest mitigating factor was lingering doubt”); Tarver v.
Hopper, 169 F.3d 710, 715–16 (11th Cir. 1999) (“Creating lingering doubt has been recognized
as an effective strategy for avoiding the death penalty.”).
3
    Docket 704 at 2.
4
    Docket 704 at 2.
5
 Docket 819 at 2–4 (citing United States v. Davis, 132 F. Supp. 2d 455 (E.D. La. 2001); United
States v. Honken, 378 F. Supp. 2d 1040 (N.D. Iowa 2004); United States v. Honken, 381 F.
Supp. 2d 936 (N.D. Iowa 2006); United States v. Bodkins, Case No. CRIM.A.4:04CR70083,
2005 WL 1118158 (W.D. Va. May 11, 2005); and United States v. Foster, Case No. CRIM.CCB-
02-0410, 2004 WL 868649 (D. Md. Apr. 9, 2004)).
6
    Docket 704 at 3–5; Docket 819 at 2–3.


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Court has considered residual doubt, “the dicta from these cases provides a strong

indication that it would be opposed to residual doubt if it had to make a decision.”7

          In Franklin v. Lynaugh, a plurality of the Supreme Court found that its prior

jurisprudence did not “suggest that capital defendants have a right to demand jury

consideration of ‘residual doubts’ in the sentencing phase.”8 The Supreme Court

emphasized that even though a sentencing jury must be allowed to consider, “‘as

a mitigating factor, any aspect of a defendant’s character or record and any of the

circumstances of the offense,’” this edict “in no way mandates reconsideration by

capital juries, in the sentencing phase, of their ‘residual doubts’ over a defendant’s

guilt.”9      Franklin specifically addressed jury instructions, highlighting that the

Supreme Court had “never held that a capital defendant has a constitutional right

to an instruction telling the jury to revisit the question of his identity as the murderer

as a basis for mitigation.”10 However, Franklin did not conclusively resolve whether

the Eighth Amendment requires presenting residual doubt to a sentencing jury as

a mitigating factor, because the Supreme Court held that the sentencing scheme

in that case was constitutional even if such an Eighth Amendment right existed.11


7
 United States v. Rodriguez, Case No. 2:04-cr-55, 2006 WL 8438030, at *2 (D. N.D. Sept. 9,
2006) (citing Franklin v. Lynaugh and Oregon v. Guzek, discussed infra).
8
 487 U.S. 164, 173 (1988) (plurality opinion) (emphasis in original) (citing Lockhart v. McCree,
476 U.S. 162 (1986)).
9
    Id. at 174 (emphasis in original) (quoting Eddings v. Oklahoma, 455 U.S. 104, 110 (1982)).
10
     Id. at 172–73.
11
     Id. at 174.


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          In Oregon v. Guzek, the Supreme Court again considered residual doubt

and addressed a defendant’s ability to present evidence of residual doubt. The

Court confirmed that its “previous cases had not interpreted the Eighth Amendment

as providing a capital defendant the right to introduce at sentencing evidence

designed to cast ‘residual doubt’ on his guilt of the basic crime of conviction.”12

Although the Supreme Court again did not resolve whether such an Eighth

Amendment right exists, it suggested that residual doubt may not be relevant in

the sentencing phase: “[T]he parties previously litigated the issue to which the

evidence is relevant—whether the defendant committed the basic crime. The

evidence thereby attacks a previously determined matter in a proceeding at which,

in principle, that matter is not at issue.”13           Most recently, in Abdul-Kabir v.

Quarterman, the Supreme Court yet again noted that it has “never held that capital

defendants have an Eighth Amendment right to present ‘residual doubt’ evidence

at sentencing. . . .”14

          In Stenson v. Lambert, a 28 U.S.C. § 2254 habeas corpus case, the Ninth

Circuit briefly addressed residual doubt in the context of considering whether the

petitioner’s trial counsel had been ineffective for conceding guilt during the penalty



12
     546 U.S. 517, 525 (2006) (emphasis in original).
13
     Id. at 526.
14
  550 U.S. 233, 250–51 (2007) (citing Guzek, 546 U.S. at 523–27). Currently, “federal courts
are split on the issue of whether a defendant may introduce evidence of innocence of a crime of
conviction at sentencing.” Holland v. Anderson, 583 F.3d 267, 281 (5th Cir. 2009).


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phase of a state capital trial, after the jury had found the defendant guilty. 15 The

petitioner asserted that his trial counsel “should have continued to pursue a theory

of residual doubt about [the petitioner’s] guilt” in the sentencing phase.16 The Ninth

Circuit denied relief, stating that “[t]he Supreme Court has held that residual doubt

is not a properly mitigating factor.” The Ninth Circuit further found that “arguing

residual doubt is inconsistent with a capital defendant’s conviction in the guilt

phase, because sentencing traditionally concerns how, not whether, a defendant

committed the crime. By the time they reach the sentencing phase, the parties

already have litigated whether the defendant committed the crime.” 17 Thus, the

Ninth Circuit expansively interpreted the Supreme Court’s cases and telegraphed

that not only is the jury not to be instructed on residual doubt as a mitigating factor,

but that the defense may not argue it to the jury in the sentencing phase.18




15
     504 F.3d 873 (9th Cir. 2007).
16
     Id. at 890 (citing Guzek, 546 U.S. 517 (2006)).

 Id. (internal quotations omitted, first emphasis added, remaining emphases in original) (citing
17

Guzek, 546 U.S. 517 (2006)).
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  Other Circuits’ decisions appear to allow the defense to argue residual doubt to the jury in the
sentencing phase, even though no jury instruction on residual doubt is required. See, e.g.,
United States v. Smith, 904 F.2d 950, 968–69 (5th Cir. 1990), vacated on other grounds, 503
U.S. 930 (1992); Ferrell v. Hall, 640 F.3d 1199, 1231 (11th Cir. 2011) (recognizing “that ‘residual
doubt’ can be a valid approach” and referring to “residual doubt” arguments as “reasonable” and
“perhaps the most effective strategy to employ at sentencing”) (internal quotations omitted). But
see Holland v. Anderson, 583 F.3d 267, 283 (5th Cir. 2009) (recognizing “that the Supreme
Court has not recognized a constitutional right to argue ‘residual doubt’ at sentencing,” and thus
denying habeas corpus relief).


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           Stenson was a § 2254 habeas corpus case, not an FDPA case, and was

decided in the context of determining whether the Washington Supreme Court’s

decision—which had held that trial counsel was not ineffective—was “contrary to,

or involved an unreasonable application of” U.S. Supreme Court precedent.19

However, the Washington Supreme Court had not addressed the petitioner’s

argument that his trial counsel “should have continued to pursue a theory of

residual doubt about [the petitioner’s] guilt” in the sentencing phase, so the Ninth

Circuit undertook “an independent review of the record” on this issue.20 In the one

paragraph of the Stenson decision that is applicable to the instant motion, the Ninth

Circuit unconditionally stated that “residual doubt is not a properly mitigating factor”

and that “arguing residual doubt is inconsistent with a capital defendant’s

conviction in the guilt phase. . . .”21 Nothing in the Stenson opinion limits those

pronouncements to that particular case or to habeas corpus cases. Accordingly,

read together, Franklin (jury instructions), Guzek (evidence), and Stenson

(argument) foreclose any sentencing-phase reliance on residual doubt.

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  504 F.3d at 881 (citing the Anti-Terrorism and Effective Death Penalty Act of 1996, codified at
28 U.S.C. § 2254(d)(1)).
20
     Id. at 890.
21
     Id.


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II.       The FDPA’s definition of “mitigating factor” does not encompass
          residual doubt.

          Mr. Smith submits that residual doubt is a mitigating factor allowed by the

FDPA. Specifically, Mr. Smith asserts that § 3592(a) of the FDPA implies “that the

mitigating factors set out in [§ 3592(a)] are not exclusive and extend even beyond

the ‘catch-all’ set out at 18 U.S.C. § 3592(a)(8).”22 He points to the introductory

clause to the statute, which provides that “the finder of fact shall consider any

mitigating factor, including the following” mitigators.23 Section 3592(a)(8), the

“catch-all” provision, states that mitigation can include “[o]ther factors in the

defendant’s background, record, or character or any other circumstance of the

offense that mitigate against imposition of the death sentence.” Accordingly, the

issues are whether § 3592(a) of the FDPA grants this Court the discretion to allow

residual doubt as an aggravating factor, and if it does, whether the Court will

exercise that discretion.

          The Court considers the FDPA in light of the Supreme Court caselaw at the

time it was enacted by Congress in 1994. In Lockett v. Ohio, decided in 1978, the

Supreme Court defined constitutionally required mitigating factors as “any aspect

of a defendant’s character or record and any of the circumstances of the offense



22
     Docket 819 at 3.
23
  Docket 819 at 3 (citing 18 U.S.C. § 3592(a)); see also United States v. Davis, 132 F. Supp. 2d
455, 465 (E.D. La. 2001) (“The broad language ‘any mitigating factor’ is the overall umbrella,
with the limiting language of the Supreme Court’s decisions simply a subcategory.”).


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that the defendant proffers as a basis for a sentence less than death.”24 In Franklin,

discussed supra, the Supreme Court in 1988 indicated that residual doubt was not

a constitutionally required mitigating factor, specifically referencing Lockett and

noting that “lingering doubts are not over any aspect of [a defendant’s] ‘character,

‘record,’ or a ‘circumstance of the offense.’”25 When Congress passed the FDPA

in 1994, it used language nearly identical to that in Lockett: “Other factors in the

defendant’s background, record, or character or any other circumstances of the

offense that mitigate against imposition of the death sentence.”26 Thus, when the

FDPA was enacted, the Supreme Court’s jurisprudence was “well-established”:

“Congress was thus aware that (1) consideration of residual doubt was not

constitutionally compelled and (2) it could authorize consideration of residual doubt

if it desired to do so. Clearly, Congress did not desire to do so.”27

          The Court recognizes that several federal courts have allowed residual

doubt as mitigation, although it appears that the majority of courts that have

considered the issue disallow residual doubt as a mitigating factor.28 Here, even


24
     438 U.S. 586, 604 (1978).
25
     487 U.S. at 174.
26
     18 U.S.C. § 3592(a)(8).
27
  United States v. Eye, Case No. 05-00344-01, 2008 WL 2121011, at *1–2 (W.D. Mo. May 19,
2008).
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  See, e.g., United States v. George, Case No. 17-201, 2020 WL 4432276, at *7 (E.D. La. July
31, 2020); United States v. Christensen, Case No. 17-cr-20037-JES-JEH, 2019 WL 1976442, at
*5 (C.D. Ill. May 3, 2019); United States v. Caro, 483 F. Supp. 2d 513, 520 (W.D. Va. 2007) (all
granting government motion in limine regarding residual doubt). But see United States v. Davis,
132 F. Supp. 2d 455 (E.D. La. 2001) (finding that the FDPA did not bar residual doubt as a

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if the Court has the discretion pursuant to the FDPA to allow residual doubt as a

mitigating factor, it would not exercise that discretion, particularly in light of the

Ninth Circuit’s statements in Stenson. If this case reaches a penalty phase, the

jury will have found Mr. Smith guilty of at least one capital offense beyond a

reasonable doubt. A residual doubt instruction or argument would invite the jury

to require a defendant’s guilt to be proven by more than beyond a reasonable doubt

in order to impose the death penalty, which the Court declines to do. The Court

concurs with the Western District of Missouri’s observation that such a

“transformation of the burden of proof is contrary to longstanding traditions and

principles of our justice system.”29

                                    CONCLUSION

        In light of the foregoing, IT IS ORDERED that the motion at Docket 704 is

GRANTED.

        DATED this 24th day of September, 2020, at Anchorage, Alaska.

                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




mitigating factor).
29
  United States v. Eye, Case No. 05-00344-01, 2008 WL 2121011, at *2 (W.D. Mo. May 19,
2008).


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